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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL PARKS CONSERVATION
 ASSOCIATION, ET AL.,

                      Plaintiffs,                     No. 22-cv-01408 (RDM)

                v.

 FEDERAL AVIATION
 ADMINISTRATION, ET AL.,

                      Defendants,

                and

 CAMDEN COUNTY, GEORGIA,

                      Defendant-Intervenor.


DEFENDANTS’ CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO
PLAINTIFFS’ AMENDED COMPLAINT, TO SET A BRIEFING SCHEDULE, AND TO
           EXCUSE COMPLIANCE WITH LOCAL CIVIL RULE 7(n)

        Defendants move: (1) to extend their time to respond to Plaintiffs’ Amended Complaint,

currently due July 28, 2023; (2) for the Court to set a briefing schedule regarding Defendants’

forthcoming motion to dismiss; and (3) to excuse Defendants’ compliance with Local Civil Rule

7(n).

        As to the first, Defendants’ response to Plaintiffs’ Amended Complaint, ECF No. 25, is

currently due July 28, 2023. See Fed. R. Civ. P. 15(a)(3). Defendants seek a four-week

extension of time, until August 25, 2023, to file their response. Defendants require additional

time to consider the additional allegations in the Amended Complaint, as well as to

accommodate the unavailability of counsel for Defendants and agency staff due to previously-

scheduled vacations and other litigation deadlines.
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       As to the second, the Parties request that the Court set the following briefing schedule

regarding Defendants’ forthcoming motion:

       Defendants’ motion to dismiss:                                  August 25, 2023
       Defendant-Intervenor’s response to Amended Complaint:           September 1, 2023
       Plaintiffs’ opposition to Defendants’ motion to dismiss:        September 29, 2023
       Defendants’ reply in support of motion to dismiss:              October 20, 2023
       Defendant-Intervenor’s reply:                                   October 27, 2023

       Third, Defendants move to be excused from any obligation pursuant to Local Civil Rule

7(n) 1 to file a certified list of the contents of the administrative record simultaneously with their

forthcoming dispositive motion to dismiss. In support, Defendants incorporate by reference their

earlier motion making this same request, ECF No. 22, as well as this Court’s June 15, 2023

Minute Order granting Defendants’ request. See also, e.g., Desai v. U.S. Citizenship & Immigr.

Servs., No. 20-cv-1005, 2021 WL 1110737, at *5 n.7 (D.D.C. Mar. 22, 2021) (“Consistent with

other courts in this jurisdiction, the Court shall grant the Government’s motion to waive

compliance with Local Civil Rule 7(n)’s requirement that the agency submit an index of the

administrative record.”).

       Counsel for Plaintiffs and Defendant-Intervenor consent to the relief requested in this

Motion.

       Respectfully submitted this 21st day of July, 2023.

                                                       TODD KIM
                                                       Assistant Attorney General

                                                       /s/ Gregory M. Cumming
                                                       Gregory M. Cumming
                                                       Matthew P. Rand
                                                       Trial Attorneys

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        Local Rule 7(n) requires the agency to provide an administrative record to plaintiffs
and “file a certified list of the contents of the administrative record with the Court within 30
days following service of the answer to the complaint or simultaneously with the filing of a
dispositive motion, whichever occurs first.”

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